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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MERLENE DAYAN, et al.,

                                   Plaintiffs,
                 -against-                                                  20 CIVIL 9563 (AKH)

                                                                              JUDGMENT
LEONORA SUTTON, et al.,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order and Opinion dated August 18, 2022, in sum, despite having had four

opportunities to amend to cure the deficiencies identified in their pleadings, Plaintiffs have been

unable to effect a cure. Accordingly, Defendants' motion to dismiss is granted with prejudice.

Judgment is entered in favor of Defendants with costs; accordingly, the case is closed.

Dated: New York, New York

          August 18, 2022


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
